        Case 2:17-mj-00695-DUTY Document 8 Filed 04/03/17 Page 1 of 1 Page ID #:18
                               United States Pretrial Services
                                                   United States District Court
                                                   Central District of California



               George M. Walker                                                           Jill F. McClain
       Chief U.S. Pretrial Services Officer                                               Deputy Chief U.S. Pretrial Services Officer


                                                                                                       FILED
                                                                                             CLERK, U.S. DISTRICT COURT


                                                             April 3, 2017                         04/03/2017
                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                                  AP
                                                                                             BY: ___________________ DEPUTY

      United States District Court
      Los Angeles, CA 90012

                                                                 Re:      Release Order Authorization
                                                                          Defendant: Norman, Claudia
                                                                          Central District of California
                                                                          Dockets #: 2:17MJ-00695


      To Whom It May Concern:

      On March 31, 2017, the defendant’s bond was set by the Honorable Jacqueline Chooljian. Special
      conditions of the bond include: RELEASE TO PRETRIAL SERVICES ONLY, for placement
      in a home confinement program.

      Please be advised that the defendant has also been found acceptable for placement in the Location
      Monitoring program.

      If you determine that the bond has been satisfied, please prepare a release order with the RELEASE
      TO PRETRIAL SERVICES ONLY box checked for the duty Magistrate Judge's signature.



                                                                          Sincerely,




                                                                          Samuel Hernandez
                                                                          Senior U.S. Pretrial Services Officer
                                                                          (213) 894-3690

 [X] HQ & Supervision Unit                Investigation Unit                  Santa Ana Branch                            Riverside Branch

        U.S. Courthouse             Edward R. Roybal Federal Building     Ronald Reagan Federal Building          George E. Brown, Jr. Courthouse
312 North Spring Street, Room 754   255 East Temple Street, Room 1178   411 West Fourth Street, Room 4070          3470 Twelfth Street, Room 161
  Los Angeles, CA 90012-4708           Los Angeles, CA 90012-3326           Santa Ana, CA 92701-4596                   Riverside, CA 92501
213-894-4726 / FAX 213-894-0231     213-894-5568 / FAX 213-894-8892     714-338-4550 / FAX 714-338-4570          951-328-4490 / FAX 951-328-4489
